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IN THE UNITED STATES DISTRICT COURT 29) £15 39
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

 

IN RE CASEY CAMPBELL Civil Action No. 4:21-cv-00881-P

DEFENDANT WILLIAM ONUH’S MOTION TO ESTABLISH QUALIFIED
IMMUNITY AS TO PLAINTIFF CAMPBELL’S PERSONAL CAPACITY CLAIMS

I. Introduction

This case filed by federal employee Casey Campbell arises out of a dispute between
Campbell and Defendant, Onuh, wherein Campbell contends he was subjected to illegal
discrimination and violationsof his civil rights, including his right to freely practice his
religion, as an employee of the Federal Bureau of Prisons (“BOP”), due to illegal
conduct by Defendant Onuh and other agents and employees of Defendant Garland.

Defendant Onuh now moves to establish qualified immunity as to Campbell’s
amended complaint. As explained below, the personal-capacity damages claims
should be dismissed because defendant Onuh is entitled to qualified immunity as
Campbell’s allegations fail to show any violation of clearly established law and fail to
state a claim for relief generally. For these reasons, and as discussed in more detail
below, this case should be dismissed under Rule 12(b)(6) of the Federal Rules of

Civil Procedure.

IL. Background
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In May 2017, Plaintiff filed an Equal Employment Opportunity (“EEO”) complaint,
asserting that he was unlawfully discriminated against on the basis of religion on four separate
occasions: (1) on February 5, 2017, Defendant Onuh allegedly made pejorative comments about
Protestant chaplains, including Plaintiff, (2) on February 9, 2017, Defendant Onuh allegedly
refused to escort non-Catholic volunteers into the institution, (3) on F ebruary 19, 2017,
Defendant Onuh allegedly used his homily and discussion time at mass to call Protestant
chaplains “liars,” addressed them as boys, and made disparaging comments about Plaintiff's
ministry, and (4) on March 9, 2017, another chaplain was allegedly forced to work overtime
when Defendant Onuh refused to escort and supervise a Protestant activity to which he had been
assigned. Ultimately, after an investigation, the Department of Justice’s Complaint Adjudication
Office issued a final agency decision in May 2019 finding that there had been discrimination,
and issued a separate decision in September 2019 regarding damages for Plaintiff, including
training for Defendant Onuh and for several named BOP supervisors, a restoration of Plaintiff's
sick leave and annual leave allegedly used by Plaintiff to avoid Defendant Onuh, and $15,000 in
compensatory damages and $1,000 in attorneys’ fees. The BOP completed these required
actions by the end of 2019,

In December 2019, Plaintiff submitted a new EEO complaint regarding the same
allegations raised in his May 2017 EEO complaint, and attached his earlier-filed suit (Campbell
v. Garland, et al., 3:19-CV-1887-L) as an exhibit to his December 2019 EEO complaint. As the
December 2019 EEO complaint raised the same issues as the prior EEO complaint, and these
allegations were already the subject of a civil suit, the EEO complaint was dismissed by the

Department of Justice in March 2020.

Onuh and Campbell are simply co-workers. Despite Campbell’s irritation at what he
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considers Onuh’s insults and misconduct, Onuh has no authority over Campbell nor any

supervisory capacity over Campbell’s working conditions or workplace conduct.

Ii. Legal Standards

A. Rule 12(b)(6).

To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must plead “enough
facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiffpleads factual
content that allows the court to draw the reasonable inference that the defendant is liable
for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “[A] formulaic
recitation of the elements of a cause of action will not do.” fd. (quoting Twombly, 550 US.

at 555),

B. Qualified immunity.

Public officials acting within the scope of their official duties are shielded from civil
liability by the doctrine of qualified immunity. Kipps v. Caillier, 197 F.3d 765, 768(Sth
Cir. 1999). Government officials are entitled to qualified immunity when their conduct
“does not violate clearly established statutory or constitutional law of which a reasonable
person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).To be “clearly
established,” a right’s contours must be “sufficiently clear that a reasonable official would
understand that what he is doing violates that right.” Andersonv. Creighton, 483 US. 635,
640 (1987). Individual liability therefore turns on the objective legal reasonableness of the

defendant’s actions in light of settled law at that time. Hunter v. Bryant, 502 U.S. 224, 228
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(1991); Harlow, 457 U.S. at 818; see also Malley v. Briggs, 475 U.S. 335, 341 (1986) LI] f
officers of reasonable competence could disagree on this issue, immunity should be
recognized.”). Thus, government officials are immune from claims for damages “as long as
their actions could reasonablyhave been thought consistent with the rights they are alleged
to have violated.” Anderson, 483 U.S. at 638,

Qualified immunity is designed to balance the need to hold public officials
accountable with the harm of litigation on the defendant-officials. Harlow, 457 U.S. at 814
(“These social costs [of litigation] include the expenses of litigation, the diversion of official
energy from pressing public issues, and the deterrence of able citizens from acceptance of
public office.”) As a result, it is “an immunity from suit rather than a mere defense to
liability.” Mitchell v, Forsyth, 472 U.S. 511, 526 (1985) (emphasis in original)(stating that
qualified immunity is designed to avoid subjecting government officials to the costs of
broad-reaching discovery, and includes “an entitlement not to stand trial or face the other

burdens of litigation’).

The Supreme Court has set forth a two-pronged test to assess qualified immunity. See
Saucier v. Katz, 533 U.S. 194, 200-01 (2001). Courts are free to decide which portion of the test
to address first. Pearson v. Callahan, 555 U.S. 223, 236 (2009); Mitchell v. Mills, 895 F.3d 365,
370 (Sth Cir. 2018). Under the first prong, the court mustevaluate whether the facts alleged show
the officer violated a constitutional right. Saucier, 533 U.S. at 201. Ifso, the court assesses the
second question—whether the rightwas “clearly established” at the time of the official’s conduct.

Id.

The Supreme Court has recently permitted damages in a personal-capacity suit against a

governmental official. FNU Tanzin, et al. v. Tanvir, et al., 141 S.Ct. 486, 489 (2020). The

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Tanvir case has been cited favorably by Plaintiff, however, the Tanvir decision does not help this
Plaintiff, because Tanvir further established qualified immunity applies to protect Defendant
Onuh in this case. “Both the Government and respondents agree that government officials are
entitled to assert a qualified immunity defense when sued in their individual capacities for money
damages under RFRA. Indeed, respondents emphasize that the “qualified immunity defense was
created for precisely these circumstances,” and is a “powerful shield” that “protects all but the

plainly incompetent or those who flout clearly established law,” Tr. of Oral Arg. 42; see District
of Columbia v. Wesby, 583 U. S., 138 S.Ct. 577, 589-591, 199 L.Ed.2d 453 (2018). In his 1*

amended complaint, Campbell fails to assert any clearly established right that was violated by
Onuh’s alleged conduct. As co-equal coworkers, Onuh was not in a position of any authority to
violate Campbell’s rights. Campbell claims he was was discriminated against by Onuh, but only
asserts Onuh made disparaging comments and/ or refused to escort certain inmates, Campbell
wholly fails to tie these actions to any clearly established right or even describe how Onuh’s
stated opinion or inaction in his alleged escort duties was discriminatory to Campbeil.

Once a defendant raises the qualified immunity defense, the burden of disproving an
entitlement to immunity falls squarely on the plaintiff. Romero v. City of Grapevine, Tex., 888
F.3d 170, 175-76 (Sth Cir. 2018). Yet given the strong public policy interests in the doctrine,
defeating the defense is a high bar. “The qualified immunity standard ‘gives ample room for
mistaken judgments’ by protecting ‘all but the plainly incompetentor those who knowingly
violate the law.” Hunter, 502 U.S. at 229 (quoting Malley, 475 U.S. at 341, 343). As a resuit,
“qualified immunity represents the norm,’ and courts should deny a defendant immunity only

in rare circumstances.” Romero, 888 F.3d at 176(quoting Harlow, 457 U.S. at 807).

IV. Argument and Authorities
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Defendant Onuh is entitled to qualified immunity as to Campbells claims against

him in his personal capacity because Campbell’s complaint identifies no clearly violated
statutory or constitutional right and even if the complaint identifies such a violation, the
complaint further fails to establish that such a right was clearly established at the time of
the violation.

A. Onuh as a personal-capacity defendant is entitled to qualified

immunity.

A “plaintiff has the burdento negate the assertion of qualified immunity” once that
defense has been raised. Collier Montgomery, 569 F.3d 214, 217 (Sth Cir. 2009). To
establish that qualified immunitydoes not apply, a plaintiff must show that (1) the defendant
“violated a statutory or constitutional right” of the plaintiff's and that (2) “the right was
‘clearly established’ at the time of the challenged conduct.” Morgan v. Swanson, 659 F.3d
359, 371 (5th Cir. 2011) (en banc). The analysis may begin at either step—and can also end
there if the plaintiff cannot carry his burden. Pearson v. Callahan, 355 U.S, 223, 236
(2009). That is the case here no matter where the analysis begins. At the “clearly established
law” step, defendant Onuh is entitled to qualified immunity because Campbell fails to
allege withthe necessary specificity the violation of any clearly established constitutional or
statutory right. No clearly established law supports Campbell’s claims. Further, because
Plaintiff Campbell and Defendant Onuh are co-equal, co-workers as chaplains with neither
having authority or supervisory capacity over the other, Campbell can not and has not
shown Defendant Onuh has the capacity to substantially violate Plaintiff Campbell’s

religious exercise nor create any constitutional or statutory burden for Campbell.

Identifying clearly established law sufficient to negate the defense of qualitied
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immunity requires an “extraordinary showing” from a plaintiff. Morrow v. Meachum, 917
F.3d 870, 876 (Sth Cir. 2019). “A right is clearly established only if its contours are
‘sufficiently clear that a reasonable official would understand that what he is doing violates
that right.’” Wyatt v. Fletcher, 718 F.3d 496, 502 (5th Cir. 2013) (quoting Wooley v. City
of Baton Rouge, 211 F.3d 913, 919 (Sth Cir. 2000)). “This inquiry ‘mustbe undertaken in

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light of the specific context of the case, not as a broad general proposition.’” Mudlenix v.
Luna, 136 §S. Ct. 305, 308 (2015) (quoting Brosseau v. Haugen, 543 U.S. 194, 198 (2004)).
The Supreme Court has “repeatedly told courts . . not to define clearly established law at a
high level of generality.” a/-Kidd, 563 U.S. at 742. The piaintiff must identify some case
giving notice that certain actions were required or forbidden “in the situation presented,”
Vann v. City of Southaven, 884 F.3d 307, 310 (5th Cir. 2018), by pointing to a “controlling
precedent that squarely governs the specific facts at issue,” Morrow, 917 F.3d at 876

(cleaned up).

Given these principles, the Fifth Circuit has stressed that the qualified-immunity

analysis requires framing the relevant question “with specificity and granularity.” Morrow,
917 F.3d at 874-75, Accordingly, just as a plaintiff cannot overcome qualified immunity on
a Fourth Amendment claim by defining the relevant right as “the right to befree from
unreasonable searches and seizures,” City & Cnty. of San Francisco v. Sheehan, 135 §, Ct.
1765, 1776 (2015), Campbell’s allegations that Onuh making disparaging comments or
refusing to escort certain inmates violated federal law cannot suffice to overcome the
defendant’s qualified immunity. Campbell fails to define the matter with the necessary
“specificity and granularity.” Morrow, 917 F.3d at 874-75,

Campbell also has not identified, and cannot identify, any precedent from the Fifth
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Circuit or the Supreme Court placing defendant on notice that his actions were inviolation
of the Constitution or any federal statute. Again, the burden is on the plaintiffto identify
some clearly established law arising from sufficiently similar factual circumstances. See,
e.g., Bustillos v. El Paso Cnty. Hosp. Dist., 89) F.3d 214, 222 (5th Cir. 2018) (explaining
that the defendants were entitled to qualified immunity because the plaintiff had “not
carried his burden of pointing this panel to any case that shows, inlight of the specific
context of this case, that the [defendants’] conduct violated clearly established law”
(emphasis added)). Here, that would require showing that either the Fifth Circuit or the
Supreme Court has squarely held that prison chaplains’ disparaging comments or refusal
to escort certain inmates violates the First and FifthAmendments or any federal statute. In
the absence of any such clearly established law, the personal-capacity claims against
defendant Onuh should be dismissed.

Finally, given the timing of Defendant Onuh’s alleged conduct, predating the Tanvir
decision, the availability damages for an individual-capacity RFRA claim was not clearly
established. Therefore, Defendant would have had no ability to appreciate the potential that his
conduct could burden a co-equal, coworker’s religious exercise or that he could be personally
liable for it. Thus, the pathway upon which Campbell premises his action was not clearly
established at the time of the alleged violation and must be denied.

B. Campbell Fails to show Onuh violated Campbell’s constitutional or statutory
rights

To establish that qualified immunitydoes not apply, a plaintiff must show that (1) the
defendant “violated a statutory or constitutional right” of the plaintiff's and that (2) “the right
was ‘clearly established’ at the time of the challenged conduct.” Morgan v. Swanson, 659

F.3d 359, 371 (Sth Cir. 2011) (en banc). To assert a violation under RFRA Campbell must
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show Onuh substantially burdened a sincere religious exercise. (42 USC Section 2000 BB-1)
Here, as Campbell’s co-equal coworker Onuh is alleged have made disparaging comments
and refused to escort certain inmate(s) as the basis for the suit. However, taken as true on
their face, the allegations fail to establish any substantial burden on Campbell’s religious
exercise. Because Onuh’s alleged conduct did not require to Campbell to take an action
inconsistent with the free exercise of his faith the conduct does not constitute a substantial
violation under RFRA.

Conclusion

For all these reasons, Defendant Onuh is entitled to qualified immunity as to
Campbell’s damages claim and the Court should therefore dismiss Campbell's personal
capacity complaints against Onuh. Defendant further request that costs be awarded against

Campbell.

Respectfully submitted,

/s/ William Onuh
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Defendant William Onuh, appearing pro se in
his personal capacity
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CERTIFICATE OF CONFERENCE
I certify that on August 30, 2021, counsel for Plaintiff Casey Campbell indicated that he

opposes this motion.

fs/ William Onuh
William Onuh

CERTIFICATE OF SERVICE
On August 30, 2021, I submitted the foregoing document filing it in-person with the clerk
of court for the U.S. District Court, Northern District of Texas. | hereby certify that I have
served all parties electronically or by another manner authorized by Federal Rule of Civil
Procedure 5(b)(2).

/sf William Onuh
William Onuh

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